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Fill in this information to identify the case:
Debtor 1  Kate Adu-Gyamfi aka Kate Adu Gyamfi aka Kate Appiah-Ofori aka Kate
Appiah Ofori
Debtor 2
(Spouse, if filing)
United States Bankruptcy Court for the: District of Maryland
Case number 19-13250-NVA


Form 4100R
Response to Notice of Final Cure Payment                                                                           10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


Part 1:        Mortgage Information

Name of creditor: Freedom Mortgage Corporation                                                          Court claim no. (if known):
                                                                                                                    11-2
Last 4 digits of any number you use to identify the debtor’s account: XXXXXX9933
Property address:7120 Susans Pass
                   Number       Street


                   Elkridge, MD             21075
                   City             State    ZIP Code


Part 2:        Prepetition Default Payments
  Check one:
   Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition
    default on the creditor’s claim.
   Creditor disagrees that the debtor(s) have paid in full the amount required to cure the
    prepetition default on the creditor’s claim. Creditor asserts that the total prepetition amount         $ ___________
    remaining unpaid as of the date of this response is:

Part 3:        Postpetition Mortgage Payment
Check one:
 Creditor states that the debtor(s) are current with all postpetition payments consistent with §
    1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
The next postpetition payment from the debtor(s) is due on:      07/01/2024
                                                                MM / DD / YYYY


   Creditor states that the debtor(s) are not current on all postpetition payments consistent with §
     1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
     Creditor asserts that the total amount remaining unpaid as of the date of this response is:

     a. Total postpetition ongoing payments due:                                                                 (a) $ 0.00

     b. Total fees, charges, expenses, escrow, and costs outstanding:                                          + (b) $ 0.00

     c. Total. Add lines a and b.                                                                                (c) $ 0.00




Form 4100R                                  Response to Notice of Final Cure Payment                                  page 1
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Debtor 1         Kate Adu-Gyamfi aka Kate Adu Gyamfi aka Kate                                          Case number (if known) 19-13250-NVA
                Appiah-Ofori aka Kate Appiah Ofori
                First Name     Middle Name    Last Name


         Creditor asserts that the debtor(s) are contractually
         obligated for the postpetition payment(s) that first became           __/__/____
         due on:                                                               MM / DD / YYYY



Part 4:           Itemized Payment History

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are not
current with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach an itemized
payment history disclosing the following amounts from the date of the bankruptcy filing through the date of this response:
     • all payments received;
     • all fees, costs, escrow, and expenses assessed to the mortgage; and
     • all amounts the creditor contends remain unpaid.


Part 5:           Sign Here
The person completing this response must sign it. The response must be filed as a supplement to the creditor’s proof of claim.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent.
I declare under penalty of perjury that the information provided in this response is true and correct to the best of my
knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address listed
on the proof of claim to which this response applies.



                /s/ Gregory C. Mullen                                  Date    July 10, 2024
                                                                               ____
                  Signature


Print:            Gregory Mullen                                       Title Attorney
                  First Name     Middle Name     Last Name

Company           BWW Law Group, LLC
Address          6003 Executive Blvd, Suite 101
                  Number        Street

                 Rockville, MD 20852
                  City            State    ZIP Code

Contact phone    301-961-6555                                                  Email bankruptcy@bww-law.com




Form 4100R                                       Response to Notice of Final Cure Payment                                page 2
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                                        CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of July, 2024, I reviewed the Court's CM/ECF system and it
reports that an electronic copy of the foregoing filed pleading will be served electronically by the Court's CM/
ECF system on the following:

Brian A. Tucci, Trustee

Eric Steiner, Attorney

       I hereby further certify that on this 10th day of July, 2024, a copy of the foregoing filed pleading was
also mailed first class mail, postage prepaid to:

Kate Adu-Gyamfi aka Kate Adu Gyamfi aka Kate Appiah-Ofori aka Kate Appiah Ofori
7120 Susans Pass
Elkridge, MD 21075




                                                        /s/ Gregory C. Mullen
                                                     ________________________________
                                                     Gregory Mullen
                                                     Attorney
                                                     BWW Law Group, LLC
